           Case 1:21-cv-06391-JMF Document 22 Filed 11/03/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                   11/3/2021


AURELIANO BRUNO, et al.,

                                            Plaintiffs,                21-CV-06391 (JMF)

                          -against-                                          ORDER

CORY REALTY, INC., et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        The parties were previously ordered to schedule a settlement conference with the Court at

least two weeks before November 2, 2021. ECF No. 7. Having failed to do so, the parties are

reminded that settlement conferences must generally be scheduled at least six to eight weeks in

advance and the Court will not adjourn litigation deadlines to accommodate late requests for

settlement conferences. If the parties wish to schedule a settlement conference, they should

contact Courtroom Deputy Rachel Slusher at

Rachel_Slusher@nysd.uscourts.gov with three mutually convenient dates.

SO ORDERED.




DATED:           November 3, 2021
                 New York, New York
